Case: 1:02-cv-O7384 Document #: 14 Filed: 07/02/03 Page 1 of 5 Page|D #:25

 

IN THE UNITED sTATES DISTRICT COURT - - -
NoR'rHERN DISTRICT oF ILLINoIs, EASTERN DIvIsIoN JUL j g ZUUB

 

)
LOIS TRASK )
)
Plaintiff, ) Case No. 02 C 7384
)
V. )
) Judge Manning f ` /j, E
CITY OF CHICAGO POLICE DEPT., ) m §
DAVID HALLIDAY, SERGEANT ) Magistrate Judge Levin m § 0
JOHN DOYLE and UNKNOWN OTHERS ) LL| § g §
) m Q_ s
Defendants ) _J l g §
._r §j -
NOTICE OF MOTION AND CERTIFICATE OF SERVICE l 91 § §
_ x
To: Lois Trask § §
7776 South Coles 0
1St Floor

Chicago, IL 60649

PLEASE TAKE NOTICE that on .Tuly 15, 2003, at 11:00 a.m., or as soon
thereafter as counsel can be heard, the undersigned will appear before the Honorable
Blanche M. Manning, in Courtroom 2125 of the United States District Court for the
Northern District of Illinois, 219 S. Dearborn St., Chicago, Illinois, or any other judge
sitting in her stead, and then and there present COUNSEL’S MOTION TO
WITI-IDRAW, a copy of which is attached and hereby served upon you. I certify that on
this date I caused the same to be served by certified mail upon Lois Trask.

Respectf submitted,

M_

b@g B. Fuvttennan
July 2, 2003

Craig B. Futterman

EDWIN F. MANDEL LEGAL AID CLINIC
University of Chicago Law School

6020 S. University Ave.

Chicago, IL 6063')r

(773) 702-9611

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION

LOIS TRASK, )
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Plaintiff, ) m 3
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v- ) iii 3 9
) Case No. 02 C 7384 LL\ a~a c"_ §
CITY OF CHICAGO POLICE DEPT., ) _] ‘ § E
DAvtD HALLIDAY, sERGEANT ) Judge Marming -:-,1 g ui_
JoHN DOYLE and UNKNOWN o'rHERs ) ""' ”° § =l
) Magistrate Judge Levin LL~ § §
Defendants. ) 5

MOTION TO WITHDRAW AS COUNSEL
Craig B. Futterman of the Edwin F. Mandel Legal Aid Clinic respectfully requests that this
Honorable Court allow him to withdraw from representation of Plaintiff Lois Trask in this matter due
to Plaintiff’s unwillingness to cooperate with Counsel and prevention of Counsel undertaking an
investigation of potential federal claims in the above-captioned matter.

In support, Counsel states:

1. Plaintiff’s Counsel seeks leave to withdraw as Counsel due to Plaintiff’s

unwillingness to cooperate with Counsel in investigating the merits of Plaintiff’s potential federal

claims. See Otis v. City Of Chicago, 29 F.3d 1159, 1168 ('l'th Cir. 1994) (en banc).

2. On February 21, 2003 the Court consolidated Plaintiff Trask’s pro se complaints

against Jackson Park Hospital and individual employees (case number 02 C 7468) with Plaintiff’s
Trask’s pro se complaint against the Chicago Police Department and individual officers (case

number 02 C 7384). At this time, in compliance with Plaintiff’s request for appointed counsel, the

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Court appointed Fredeiick R. Ball of Duane Morris to represent Plaintiff. Mr. Ball was subsequently
given leave to withdraw from the case.

3. On May 30, 2003, Craig B. Futterman of the Edwin F. Mandel legal Aid Clinic
received written notice that he had been appointed to represent Plaintiff in this matter. Counsel
obtained and reviewed the court file prior to meeting with Plaintiff on June 13, 2003. On June 18,
2003, law students working under Mr. Futterman’s supervision at the Mandel Legal Aid Clinic
conducted an extended interview with Plaintiff and outlined what was needed to investigate
Plaintiff’s claims. At that meeting, Plaintiff declined to authorize the release of information
necessary to Counsel’s investigation

4. On June 26, 2003, in two telephone calls with Plaintiff’s Counsel, Plaintiff again
refused to authorize the release of necessary information and verbally confirmed that she understood
her refusal would end the investigation by the Mandel Legal Aid Clinic. During those conversations,
Counsel and his representatives informed Plaintiff of his intent to seek leave to withdraw from
representing Plaintiff in this matter due to Plaintiff’s lack of cooperation.

5. On June 27, 2003, the Edwin F. Mandel Legal Aid Clinic sent Plaintiff a letter via
certified mail confirming Counsel’s intent to seek the Court’s leave to Withdraw as counsel in this
matter due to Plaintiff’s refusal to cooperate with Counsel’s investigation (see attached).

6. Absent cooperation from Plaintiff Trask, Counsel cannot competently investigate the
merits of Plaintiff’s potential federal claims arising from the incidents of October 12, 2002 and
cannot file an amended complaint in compliance Wlth Fed. R. Civ. P. 11.

WHEREFORE, Counsel respectfully requests this Honorable Court to enter an Order

granting Counsel’s motion to withdraw from representation of Plaintiff in this matter.

 

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Respectfully submitted,

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CraEB. Futterman

Date: July 2, 2003

Craig B. Futterman

EDW]N F. MANDEL LEGAL AID CLINIC
University of Chicago Law School

6020 S. University Ave.

Chicago, ]l. 60637

(773) 702-9611

 

 

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Craig B. Fullerman
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Jeffrey E. Les|ie
Randall D. Schmidt
Randolph N. Slone

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Michelle Geller

 

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6020 SOUTH UNIVERSITY AVENUE f CHICAGO, ILLINOIS 60637-2786
(773) 702-9611 /FAX: (7'73) 702-2063

Ms. Lois Trask
7776 South Coles
1St Floor

Chicago, IL 60649

Via Certif"led Mail
June 27 , 2003

Re: Trask v. Citv_Chgo PD 02 C 7384

 

Dear Ms. Trask:

This letter follows our meeting on June 18 and our phone conversation
yesterday afternoon. In those discussions, l expressed our need to access and review
your medical mental health records to help us to investigate the merits of any
federal claims in the above-captioned matter. In our conversations, you indicated
that relatives made several false claims to the police, including claims about your
mental health and need for commitment, that in part, resulted in the police and
medical personnel taking various actions against your will. Nonetheless, you have
refused to sign authorizations to release information to us about your mental health
and medical history. As I explained in our conversations, we are unable to
represent you or to assess the potential merits of your claims without access to this
and other relevant information Due to your decision not to release your records,
we cannot conduct a complete and thorough investigation of the merits of your
case', without such an investigation, we cannot competently represent you and your
interests As l and my supervisor Craig Futterman also explained, we will be filing
a motion with the Court to withdraw as your counsel, because of your lack of
cooperation with counsel, impeding our ability to assess whether you have any
federal claims.

Please feel free to contact us if you have any questions

Sincerely,

    
 
 

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